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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA




BEVERLY TAYLOR

          v.                                  NO.   11-CV-7413

NCO FINANCIAL SYSTEMS, INC.



                                JUDGMENT


BEFORE SLOMSKY, J.

          AND NOW, to wit, this 29th day of March, 2012, it is
ORDERED that in accordance with NCO FINANCIAL SYSTEMS, INC'S offer
of judgment and plaintiff's acceptance pursuant to F.R.C.P. 66.
          It is ORDERED that judgment is entered in favor of
plaintiff and against NCO FINANCIAL SYSTEMS, INC. in the amount of
$750.00 together with interest and costs.



                                    BY THE COURT:

                                    ATTEST:



                                                      Depu     Clerk



judg
